                                                              Case 2:21-cv-02116-CBM-KES                                                                                                                                                                               Document 99-8           Filed 02/11/25   Page 1 of 3 Page ID
                                                                                                                                                                                                                                                                             #:1334

Madelyn Happ

From:                                                                                                                                                                                                                                                    Denise Gunter
Sent:                                                                                                                                                                                                                                                    Friday, December 20, 2024 10:23 AM
To:                                                                                                                                                                                                                                                      Madelyn Happ
Subject:                                                                                                                                                                                                                                                 FW: FlightBlitz v. Tzell (federal action)




From: Levi Lesches <levi@lescheslaw.com>
Sent: Monday, September 9, 2024 2:34 AM
To: Denise Gunter <denise.gunter@nelsonmullins.com>
Cc: Alan Kaufman <alan.kaufman@nelsonmullins.com>; Ryan Cosgrove <ryan.cosgrove@nelsonmullins.com>; James
Wald <james.wald@nelsonmullins.com>
Subject: RE: FlightBlitz v. Tzell (federal action)
Hi Denise, As I previously advised Ryan, due to various personal and professional m atters I will be stepping away from all the FlightBlitz cas es for at least a few m onths . I had anticipated havi ng new couns el substitute in last week, but it
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                         External Source/Sender notice
                                                                                                                                                                                                                                                                                                                    Report Suspicious
                         Use caution responding or clicking links/attachments.

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Hi Denise,

As I previously advised Ryan, due to various personal and professional matters I will be stepping away
from all the FlightBlitz cases for at least a few months. I had anticipated having new counsel substitute
in last week, but it did not work out due to difficulties coordinating with the Client. New counsel should
be associated within the coming week.

Best,

Levi Lesches
5757 Wilshire Boulevard, Ste 535
Los Angeles, CA 90036
Phone: (323) 900-0580
Cell: (323) 812-4784




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the sender immediately by telephone or by return e-mail and delete it from his or her computer.


From: Levi Lesches <levi@lescheslaw.com>
Sent: Friday, September 6, 2024 5:20 PM
To: Denise Gunter <denise.gunter@nelsonmullins.com>
Cc: Alan Kaufman <alan.kaufman@nelsonmullins.com>; Ryan Cosgrove <ryan.cosgrove@nelsonmullins.com>; James
Wald <james.wald@nelsonmullins.com>
Subject: Re: FlightBlitz v. Tzell (federal action)
                                                                                                                                                                                                                                                                                                 EXHIBIT
                                                                                                                                                                                                                                                                                     1

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                                                                  Case 2:21-cv-02116-CBM-KES                                                                                                                                                                 Document 99-8   Filed 02/11/25   Page 2 of 3 Page ID
                                                                                                                                                                                                                                                                   #:1335

I and the client were both traveling this week. I will be in touch Sunday

Get Outlook for Android

From: Denise Gunter <denise.gunter@nelsonmullins.com>
Sent: Friday, September 6, 2024 8:56:48 AM
To: Levi Lesches <levi@lescheslaw.com>
Cc: Alan Kaufman <alan.kaufman@nelsonmullins.com>; Ryan Cosgrove <ryan.cosgrove@nelsonmullins.com>; James
Wald <james.wald@nelsonmullins.com>
Subject: RE: FlightBlitz v. Tzell (federal action)

Thanks, Levi.

I understand from other communications that you’ve had with Alan, Ryan and James that your family has been
experiencing illness and I am very sorry to hear that. I hope everyone is doing better.

As you know, we’ve not received any documents from Plaintiffs in the federal action. We’ve sent you a meet and confer
letter, and rather than send another addressing your responses from 9/5, it may be more efficient to have a call so we
can discuss when we will be receiving documents. I can’t depose Mr. Kaye or the 30(b)(6) FlightBlitz representative until
I receive responsive documents.

I’m hoping to avoid court involvement but time is running short as we have about 3 months left to complete fact
discovery.

Please let me know some times in the near future you can be available.

Thanks.

From: Levi Lesches <levi@lescheslaw.com>
Sent: Thursday, September 5, 2024 11:46 PM
To: Denise Gunter <denise.gunter@nelsonmullins.com>
Cc: Alan Kaufman <alan.kaufman@nelsonmullins.com>; Ryan Cosgrove <ryan.cosgrove@nelsonmullins.com>; James
Wald <james.wald@nelsonmullins.com>
Subject: RE: FlightBlitz v. Tzell (federal action)
Please find attache d Plaintiffs’ preservation of o bjections. Best, Levi Lesches 57 57 Wils hire Boulevard, Ste 535 Los Angele s, CA 900 36 P hone : (3 23) 9 00-0580 Cell: (3 23) 812 -4784 T his communication may contain infor mation that is legally




Please find attached Plaintiffs’ preservation of objections.

Best,

Levi Lesches
5757 Wilshire Boulevard, Ste 535
Los Angeles, CA 90036
Phone: (323) 900-0580
Cell: (323) 812-4784




                                                                                                                                                                                                                                                                      2
         Case 2:21-cv-02116-CBM-KES                                      Document 99-8                      Filed 02/11/25                   Page 3 of 3 Page ID
                                                                               #:1336
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From: Denise Gunter <denise.gunter@nelsonmullins.com>
Sent: Tuesday, August 6, 2024 4:27 PM
To: Levi Lesches <levi@lescheslaw.com>
Cc: Alan Kaufman <alan.kaufman@nelsonmullins.com>; Ryan Cosgrove <ryan.cosgrove@nelsonmullins.com>; James
Wald <james.wald@nelsonmullins.com>
Subject: FlightBlitz v. Tzell (federal action)

Good evening, Levi,

Attached for service are Defendants’ Second Set of RFPs to Plaintiffs, in both .pdf and Word.

Thanks.




 D ENI SE M . GUNT ER PA RT NER
 d en i se . g un t e r @ ne l s on m u l l i ns . c om

 Sh e/H er /H er s
 T H E KN OL LW OOD | SUI T E 530
 380 KN OLLW OOD STR EET | W IN STON -SA L EM , NC 27103
 T 336. 774. 3322           F 336. 774. 3299

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